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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 No. 4:97CR00243-02 JLH

DANIEL LEWIS LEE                                                                  DEFENDANT

                                            ORDER

       Daniel Lewis Lee has filed a motion to alter or amend the judgment entered on March 18,

2014, denying Lee’s motion to reopen these proceedings. Lee contends that the Court erred as a

matter of law when it deemed his Rule 60(b) motion a second or successive habeas petition. The

substance of Lee’s argument, however, is the same as the arguments that he made in his briefs and

at oral argument before the Court ruled. For the reasons stated in the Court’s Opinion entered on

March 18, 2014, those arguments are overruled. Lee’s motion to alter or amend is DENIED.

Document #1251.

       IT IS SO ORDERED this 16th day of April, 2014.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
